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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



  SECURITIES AND EXCHANGE
  COMMISSION,

                  Applicant,
                                                          Case No. 23-mc-00002 (APM)
            v.

  COVINGTON & BURLING LLP,

                  Respondent.




       JOINT NOTICE TO THE COURT REGARDING SETTLEMENT IMPASSE

       Applicant Securities and Exchange Commission (“Commission”) and Respondent

Covington & Burling LLP (“Covington”) respectfully submit this joint notice regarding a

settlement impasse. Following the May 10, 2023, hearing, as suggested by the Court, the parties

discussed that they should consider whether a settlement may be possible. The Commission then

transmitted a letter to Covington proposing that the parties attempt to negotiate a protective

order. Covington responded that the Commission’s proposal would not work given its

understanding of D.C. Rule of Professional Conduct 1.6 that client identities cannot be revealed

unless this Court so orders the production of client names and that order is upheld on appeal.

The parties held a follow-up call on May 23, during which they concluded that settlement is not

possible.

       The parties stand prepared to provide any additional information that the Court may need

in ruling on the Commission’s Application.
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Dated: May 26, 2023              Respectfully submitted,


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